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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                          )
IN RE APPLICATION OF USA PURSUANT         )                  ML No: 1:21-ml-00913
TO 18 U.S.C. § 3512 FOR ORDER FOR         )
COMMISSIONER’S APPOINTMENT FOR            )
CORRUPTION INVESTIGATION                  )
__________________________________________)

Reference:      DOJ Ref. # CRM-182-75710

              APPLICATION OF THE UNITED STATES FOR AN ORDER
       FOR A COMMISSIONER’S APPOINTMENT PURSUANT TO 18 U.S.C. § 3512

       The United States of America, moving by and through its undersigned counsel,

respectfully submits this ex parte application for an Order, pursuant to 18 U.S.C. § 3512,

appointing the undersigned attorney, Erica Laster, Trial Attorney, Office of International Affairs,

Criminal Division, U.S. Department of Justice (or a substitute or successor subsequently

designated by the Office of International Affairs), as a commissioner to collect evidence and to

take such other action as is necessary to execute this and any subsequent, supplemental requests

for assistance with the above-captioned criminal matter from Portugal. In support of this

application, the United States asserts:

                                          RELEVANT FACTS

       1.       The Competent Authority of Portugal, the Prosecutor General’s Office, submitted

a request for assistance (the “Request”) to the United States, pursuant to the Instrument Between

the United States of America and Portugal as contemplated by Article 3(3) of the Agreement on

Mutual Legal Assistance Between the United States of America and the European Union, signed

25 June 2003, U.S.-Port., July 14, 2005, S. TREATY DOC. NO. 109-13 (2006) (the “Treaty”).
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       2.       As stated in the Request, the Examining Judge of the Central Criminal

Examination Court, in Portugal, is investigating Luis Manuel de Paiva Gomes Cunha Ribeiro

(Ribeiro), Joaquim Paulo Lalanda e Castro (Castro), and Manuela Carvalho (Carvalho) for

corruption, bribery, and receiving an undue advantage, which occurred between in or about 1998

to 2016, in violation of the criminal laws of Portugal, specifically, Articles 373(2), 374-A(2)(3),

and 372(2) of the Portuguese Criminal Code. Under the Treaty, the United States is obligated to

assist in response to the Request.

       3.       According to Portuguese authorities, Castro, a Portuguese national and former

director of a pharmaceutical company, bribed public tender jurors (members of Portuguese

selection boards that recommend pharmaceutical products for acquisition and/or purchase)

Ribeiro and Carvalho by sponsoring their travel and attendance at international medical

congresses in order to influence their decision to purchase products sold by Castro’s

pharmaceutical company. Specifically, Ribeiro and Carvalho, Portuguese physicians, and public

tender jurors, were a part of a Portuguese selection board that made decisions about the types of

pharmaceutical products that the Portuguese Public Administration should purchase. Some of

the bribes paid to Ribeiro and Carvalho involved payments in order for the two public tender

jurors to attend conferences organized by the International Society on Thrombosis and

Haemostasis.

       4.       From between 2000 to 2015, Ribeiro received bribes from former pharmaceutical

company director Castro in order to influence Ribeiro’s recommendation of the pharmaceutical

company’s products to the Portuguese Public Administration, that would then purchase products

recommended by its public tender jurors. The pharmaceutical company’s director provided

payment for Ribeiro’s travel, lodging, contracts, transfers, loans, parking spaces, holiday gift



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baskets, and apartments. The bribes Ribeiro received amounted to a total of 914,446.80 EUR

(approximately 1,075,092.24 USD).

        5.       Carvalho also received bribes and undue advantages from the former

pharmaceutical company director to influence her decision to recommend the pharmaceutical

company’s products to the Portuguese Public Administration for purchase. From 2000 to 2016,

Carvalho was provided payment for traveling expenses, lodging, participation in clinical trials,

and received holiday gift baskets. The bribes Carvalho received amounted to a total of

approximately 98,799.03 EUR (approximately 116,155.55 USD).

        6.       To further the investigation, Portuguese authorities have asked U.S. authorities to

provide business records from the International Society on Thrombosis and Haemostasis, located

in the United States, containing a list of conferences attended by Ribeiro and Carvalho from

1998 to 2014, the names of the person and/or company who sponsored Ribeiro and Carvalho’s

attendance and paid Ribeiro and Carvalho’s conference registration fees.

                                      LEGAL BACKGROUND

        7.       A treaty1 constitutes the law of the land. U.S. Const. art. VI, cl. 2. The provisions

of a treaty have equal footing with acts of Congress and are binding on the courts. See Asakura

v. City of Seattle, 265 U.S. 332, 341 (1924); United States v. The Peggy, 5 U.S. 103 (1801);

United States v. Emuegbunam, 268 F.3d 377, 389 (6th Cir. 2001). The provisions of a treaty

should be construed liberally “to give effect to the purpose which animates it.” United States v.

Stuart, 489 U.S. 353 (386) (1989) (internal quotations marks omitted). To the extent that the

provisions of a treaty are inconsistent with a preexisting statutory provision, the treaty supersedes

the statute. Zschernig v. Miller, 389 U.S. 429, 440-41 (1968).


1
 The term “Treaty” used herein encompasses bilateral treaties, multilateral conventions, instruments, and
protocols.

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        8.       When executing a treaty or non-treaty request for assistance from a foreign

authority, an attorney for the government may file an application to obtain any requisite court

orders under 18 U.S.C. § 3512. This section authorizes a federal court to issue such orders and

provides in pertinent part:

        Upon application, duly authorized by an appropriate official of the Department of
        Justice, of an Attorney for the Government, a Federal judge may issue such orders
        as may be necessary to execute a request from a foreign authority for assistance in
        the investigation or prosecution of criminal offenses, or in proceedings related to
        the prosecution of criminal offenses, including proceedings regarding forfeiture,
        sentencing, and restitution.

                        *                       *                       *

        [A]n application for execution of a request from a foreign authority under this
        section may be filed . . . in the District of Columbia.

                        *                       *                       *

        The term “foreign authority” means a foreign judicial authority, a foreign
        authority responsible for the investigation or prosecution of criminal offenses or
        for proceedings related to the prosecution of criminal offenses, or an authority
        designated as a competent authority or central authority for the purpose of making
        requests for assistance pursuant to an agreement or treaty with the United States
        regarding assistance in criminal matters.

18 U.S.C. § 3512(a)(1), (c)(3), (h)(2).

        9.       Congress enacted this section to make it “easier for the United States to respond

to [foreign] requests by allowing them to be centralized and by putting the process for handling

them within a clear statutory scheme.” 155 Cong. Rec. 6,810 (2009) (statement of Sen.

Whitehouse); Foreign Evidence Request Efficiency Act of 2009, Pub. L. No. 111-79, 123 Stat.

2086.2 This section provides clear authority for the federal courts, upon application duly


2Prior to the enactment of 18 U.S.C. § 3512, the United States routinely utilized the procedures
authorized by 28 U.S.C. § 1782 (the “commissioner” process) to execute requests from foreign
authorities. See In re Request from the United Kingdom, 685 F.3d 1, 11 (1st Cir. 2012) (18 U.S.C. §
3512 provides a more streamlined process than 28 U.S.C. § 1782, the statute under which foreign requests
were executed prior to enactment of section 3512); see also Intel Corp. v. Advanced Micro Devices, Inc.,

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authorized by an appropriate official of the Department of Justice, to issue orders that are

necessary to execute a foreign request.

        10.     An application is duly authorized by an appropriate official of the Department of

Justice when the Office of International Affairs3 has reviewed and authorized the request, and

executes the request itself or delegates execution to another attorney for the government.4 Upon

such a duly authorized application, Section 3512 authorizes a federal judge5 to issue “such orders

as may be necessary to execute [the] request,” including: (1) search warrants under Fed. R.

Crim. P. 41; (2) orders for electronic records under 18 U.S.C. § 2703; (3) orders for pen registers

or trap and trace devices under 18 U.S.C. § 3123; and (4) orders appointing a person to direct the

taking of testimony or statements and/or the production of documents or other things. See 18

U.S.C. § 3512(a)(1)--(b)(1). In addition, a federal judge may order any necessary procedures to

facilitate the execution of the request, including any procedures requested by the foreign

authority to facilitate its use of the evidence. 18 U.S.C. § 3512(a)(1).

        11.     Section 3512 also authorizes any person appointed to direct the taking of

testimony or statements and/or the production of documents. The appointed person has authority


542 U.S. 241, 247-49 (2004) (describing history of Section 1782). When enacting Section 3512,
Congress anticipated that improved U.S. handling of foreign requests would ensure reciprocity in
response to U.S. requests for assistance in its criminal investigations. See, e.g., 155 Cong. Rec. 10,093
(2009) (statement of Rep. Schiff).

3The Attorney General, through regulations and Department of Justice directives, delegated to the Office
of International Affairs the authority to serve as the “Central Authority” under treaties and executive
agreements between the United States and other countries pertaining to mutual assistance in criminal
matters. See 28 C.F.R. 0.64-1, 0.64-4, and Appendix to Subpart K, Directive Nos. 81B and 81C (2018).

4
  “Section 3512 can be invoked only when authorized by OIA. . . . Such authorization occurs when an
attorney for the government, or his or her office, receives the referral of the request for execution from
OIA.” Memorandum from the Deputy Attorney General to Department of Justice Components (May 16,
2011) (on file with the Office of International Affairs).
5
  The term “federal judge” includes a magistrate judge. See 18 U.S.C. § 3512(h)(1); Fed. R. Crim. P.
1(b)(3)(B) (including a magistrate judge in the definition of federal judge).

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to: (1) issue an order requiring a person to appear and/or produce documents or other things; (2)

administer any necessary oaths; and (3) take testimony or statements and receive documents or

other things. 18 U.S.C. § 3512(b)(2). In ordering a person to appear and/or produce documents

or other things, the person appointed, commonly referred to as the “commissioner,” typically

uses a subpoena entitled “Commissioner’s Subpoena.” Any such subpoena may be served or

executed anywhere in the United States. 18 U.S.C. § 3512(f). A sample “Commissioner’s

Subpoena” is included as Attachment A.

                                    REQUEST FOR ORDER

       12.     The Office of International Affairs has reviewed and authorized the Request, and

is executing the Request itself. Consequently, this application for an Order appointing the

undersigned attorney as a commissioner to collect evidence and to take such other action as is

necessary to execute the Request has been “duly authorized” within the meaning of Section

3512. In addition, the Request was submitted by an appropriate “foreign authority,” the

Prosecutor General’s Office in Portugal, and seeks assistance in the investigation of corruption,

bribery, and the receipt of undue advantages – criminal offenses in Portugal. The requested

Order is necessary to execute the Request, and the assistance requested, i.e., the production of

business records, falls squarely within that contemplated by Section 3512 and the Treaty.

Finally, this application was properly filed in the District of Columbia.

       13.     This application is being made ex parte, consistent with U.S. practice in its

domestic criminal matters.

       14.     When executing a foreign request for assistance in a criminal matter, both Section

3512 and the Treaty authorize the use of compulsory process comparable to that used in

domestic criminal investigations and/or prosecutions. Because subpoenas utilized in U.S.



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criminal proceedings (i.e., grand jury and criminal trial subpoenas) are issued without notice to

any person other than the recipient (i.e., no notice to targets or defendants), orders and

commissioner subpoenas issued in execution of a foreign request pursuant to Section 3512.

Accordingly, this Court should authorize a commissioner to collect the evidence requested

without notice to any person(s) or entity(ies) other than the recipient(s) of any given

commissioner subpoena.

       15.     Therefore, the United States respectfully requests that this Court issue the

attached Order, pursuant to 18 U.S.C. § 3512, appointing the undersigned attorney, Erica Laster,

Trial Attorney, Office of International Affairs (or a substitute or successor subsequently

designated by the Office of International Affairs) as a commissioner, authorizing the undersigned

to take the actions necessary, including the issuance of commissioner’s subpoenas, as needed, to

collect the evidence necessary to execute any pending request for assistance and any subsequent,

supplemental requests in connection with the same matter, in a manner consistent with the

intended use of the evidence.

                                              Respectfully submitted,

                                              VAUGHN A. ARY
                                              DIRECTOR
                                              OFFICE OF INTERNATIONAL AFFAIRS
                                              OK Bar Number 12199


                                       By:    __________________________________________
                                              Erica Laster
                                              Trial Attorney
                                              D.C. Bar Number 1032449
                                              Office of International Affairs
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                                              1301 New York Avenue, N.W.
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                      ATTACHMENT A
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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


                                          )
IN RE APPLICATION OF USA PURSUANT         )
TO 18 U.S.C. § 3512 FOR ORDER FOR         )
COMMISSIONER’S APPOINTMENT FOR            )
[Insert Nature of Case/Investigation]     )
                                          )
__________________________________________)

Reference:     [Insert DOJ#]
(Please repeat when responding.)

                                COMMISSIONER’S SUBPOENA

TO: [Insert Name of Entity]

       I, Commissioner [Insert Attorney Name], Trial Attorney, Office of International Affairs,

Criminal Division, U.S. Department of Justice, acting pursuant to 18 U.S.C. § 3512, and this

Court’s Order signed on [Insert Date], for the purpose of rendering assistance to [Insert

Country], command that you provide the following documents regarding (an) alleged

violation(s) of the laws of [Insert Country]; specifically, [Insert Name of Offense(s), in violation

of Section [Insert Number] of the [Insert Country Adjective] [Criminal][Penal] Code.

       Provide records to International Affairs Specialist [Insert Name] by emailing them to

[Insert Email Address] or by mailing via FedEx either a paper copy of the records or any

commonly used digital storage device loaded with the files to the following mailing address by

__________, 20__:

[Insert IAS Name, Mailing Address, Email Address, and Telephone Number]
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       For failure to provide records you may be deemed guilty of contempt and liable to

penalties under the law.


Date: _____________                                ________________________________
                                                   COMMISSIONER
                                                   [Insert Name]
                                                   Trial Attorney
                                                   Office of International Affairs
                                                   Criminal Division, Department of Justice
                                                   1301 New York Avenue, N.W.
                                                   Washington, D.C. 20530
                                                   (202) [Insert Number]
                                                   [Insert Email Address]




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